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The Honorable Stephanie A. Gallagher                                                      Orrick, Herrington & Sutcliffe LLP
                                                                                          Columbia Center
The Honorable J. Mark Coulson                                                             1152 15th Street, N.W.
United States District Court for the District of Maryland                                 Washington, D.C. 20005-1706
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           Re: Faye Cottman, et al. v. Baltimore Police Dep’t, et al., 1:21-cv-00837-SAG
           (E-filed as correspondence via CM/ECF Next Gen.)

                                                                                                     July 21, 2023

Dear Judge Gallagher and Judge Coulson—

We write to inform you that Tianna Mays, one of Plaintiffs’ counsel, has been selected to serve on
the Board of Directors of the Federal Bar Association, Maryland Chapter. It is our understanding
that Judge Gallagher serves on the Board of Directors and that Judge Coulson might also begin a
period of service on the Board of Directors.

We notified all defense counsel and asked them whether they had any concerns that they wished
us to convey in this letter. Defense counsel did not express any concerns to us.

We do not believe that this information implicates anything in the Code of Conduct for United
States Judges,1 but we are happy to address any concerns that the Court might have.

Sincerely,


                                                              /s/    Ben Aiken

    Arthur Ago                                                C. Anne Malik
    Counsel for Plaintiffs                                    Ben Aiken
    Lawyers’ Committee for Civil Rights                       Counsel for Plaintiffs
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Cc: Counsel for Defendants

1
    Available at https://www.uscourts.gov/judges-judgeships/code-conduct-united-states-judges.
